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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

VERSIE L. DUPONT, general
administrator and administrator ad
prosequendum of the estate of
LAKEISHA R. MAYNER-DUPONT,
deceased, and VERSIE L. DUPONT,

individually,
Plaintiffs,
v.

UN.[TED STATES OF AMERICA; et
al.,

Defendants.

 

 

HoN. JEROME B. SIMANDLE

Ciuil Action No. 1115 CV 03752
(JBS)(AMD)

(SO ORDERED) CONSENT DECREE

Upon consent by and between the Plaintiffs and Defendant the United States

of America (collectively, the “Parties”), through their undersigned attorneys, the

Parties hereby request in the above~captioned action that the claims against the

Defendant be dismissed with prejudice, and that the Parties bear their own costs

except as otherwise specified in the Parties’ settlement agreement, it is hereby:

ORDERED that this action is hereby dismissed with prejudice,

Dated: September 14, 2017

ANDRES & BERGER

 

Attorney for Plaintiffs

WILLIAM E. FITZPATRICK
Acti g United St s Attorney

/;/c

ordan M. Anger/
Assistant United States Attorney
Attorney for the Defendants

By:

 

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day of . 2017.
BY THE COURT:

So ordered this

 

 

JERoME B. SIMANDLE,
United States District Judge

